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                                                               Wahlburgers I, LLC
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                                                           8                              UNITED STATES DISTRICT COURT
                                                           9                          CENTRAL DISTRICT OF CALIFORNIA
                                                       10
                                                       11        WAHLBURGERS I, LLC, a                          CASE NO.
                                                                 Massachusetts limited liability company,
              TEL.: (213) 688-9500 – FAX: (213) 627-6342




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                LOS ANGELES, CALIFORNIA 90071
                 633 WEST FIFTH STREET, SUITE 6400




                                                       13                    Plaintiff,                         COMPLAINT FOR:
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                                                       14        v.                                             1. INFRINGEMENT OF
                                                                                                                REGISTERED TRADEMARK
                                                       15        JOSE DE LA CRUZ, an individual,                UNDER 15 U.S.C. § 1114
                                                                 BACKYARD BBQ VILLAGE, INC., a
                                                       16        California corporation, and DOES 1             2. FALSE DESIGNATION OF
                                                       17        through 10, inclusive,                         ORIGIN UNDER 15 U.S.C. §
                                                                                                                1125(A)
                                                       18                    Defendants.
                                                                                                                3. UNFAIR COMPETITION IN
                                                       19                                                       VIOLATION OF CAL. BUS. &
                                                       20                                                       PROF. CODE §§ 17200

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                                                                                                                DEMAND FOR JURY TRIAL
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                                                                                                    COMPLAINT
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                                                           1                                         INTRODUCTION
                                                           2                1.   Plaintiff Wahlburgers I, LLC ("Plaintiff" or "Wahlburgers") brings this
                                                           3   action to protect its highly valuable intellectual property assets. Wahlburgers, a world-
                                                           4   renowned fast-casual restaurant chain, was started by brothers Paul, Mark and Donald
                                                           5   ("Donnie") Wahlberg in 2011 in Hingham, Massachusetts. Today, there are over 100
                                                           6   Wahlburgers locations worldwide that serve fresh and delicious food and feature images
                                                           7   of the Wahlberg brothers in its signage, décor and marketing materials.
                                                           8                2.   Defendants Jose De La Cruz and Backyard BBQ Village, Inc.
                                                           9   (collectively, along with the fictitiously named defendants, "Defendants") are operating
                                                       10      a business that blatantly infringes on the registered trademarks owned by Plaintiff and
                                                       11      imitates Wahlburgers' trade dress and marketing materials by utilizing the names,
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                                                       12      images and likenesses of the Wahlberg brothers. Defendants' uses of Plaintiff's
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                                                       13      registered trademarks and imitation of Plaintiff's trade dress through the use of the
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                                                       14      Wahlberg brothers' names, images and likenesses are and were not authorized or
                                                       15      approved by Plaintiff at any time.
                                                       16                   3.   Specifically, Defendants are using both the registered trademarks and the
                                                       17      names, images, and likenesses of each of the brothers to sell food from trucks, trailers,
                                                       18      and/or food stands in public places, including multiple County fairs in California. The
                                                       19      following image is just one such example:
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                                                                                                        COMPLAINT
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                                                       14                   4.   Plaintiff's demands that Defendants cease and desist their infringement
                                                       15      have gone unheeded, leaving Plaintiff with no alternative but to file this action to protect
                                                       16      its valuable trademarks and to prevent consumer confusion as to the source of Plaintiff's
                                                       17      and Defendants' respective goods and services.
                                                       18                                                 PARTIES
                                                       19                   5.   Plaintiff Wahlburgers I, LLC is a Massachusetts limited liability company
                                                       20      with a principal place of business at 350 Lincoln Street, Suite 2501, Hingham,
                                                       21      Massachusetts 02043.
                                                       22                   6.   Defendant Jose De La Cruz is an individual and, on information and belief,
                                                       23      resides in Las Vegas, Nevada, but does extensive business in Southern California,
                                                       24      including Los Angeles County, where some of the events and injuries giving rise to this
                                                       25      action occurred.
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                                                                                                         COMPLAINT
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                                                           1                7.    Defendant Backyard BBQ Village, Inc. is a corporation existing under the
                                                           2   state laws of California and with a principal place of business at 12127 Mall Blvd., Suite
                                                           3   463, Victorville, CA 92392.
                                                           4                8.    Plaintiff is presently unaware of the true names and capacities, whether
                                                           5   individual, associate, corporate or otherwise of Defendants DOES 1 through 10, or any
                                                           6   of them, and therefore sue them by such fictitious names. Plaintiff will seek leave to
                                                           7   amend this Complaint to show the true names and capacities of such fictitiously named
                                                           8   Defendants when the same has been ascertained. Plaintiff is informed and believes and
                                                           9   thereon alleges that each of the Defendants fictitiously named as DOE is legally
                                                       10      responsible in some manner for the acts, omissions and events alleged herein and has
                                                       11      proximately caused damages and injury to Plaintiff as herein alleged. Each reference in
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                                                       12      this Complaint to Defendants, or to a specifically named Defendant, refers also to all
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                                                       13      Defendants sued under fictitious names.
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                                                       14                   9.    Plaintiff is informed and believes and based thereon alleges, that at all
                                                       15      times herein mentioned, each Defendant, was and now is the agent, servant, employee,
                                                       16      representative and/or alter ego of the other Defendants and, in doing the things
                                                       17      hereinafter mentioned, was acting within the scope of his, her or its authority as such
                                                       18      agent, servant, employee and/or representative with the permission and consent of
                                                       19      Defendants, and actively participated in or subsequently ratified and adopted each of
                                                       20      the acts or conduct alleged herein with full knowledge of each and every violation of
                                                       21      Plaintiff's rights, and that Plaintiff's damages were proximately caused thereby.
                                                       22                                      JURISDICTION AND VENUE
                                                       23                   10.   This case arises under the provisions of the Lanham Act (15 U.S.C. §§
                                                       24      1051-1127). This Court has subject matter jurisdiction over this action pursuant to 28
                                                       25      U.S.C. §§ 1331 and 1338 and 15 U.S.C. §§ 1114 and 1125.
                                                       26                   11.   This Court has supplemental jurisdiction over all state law claims under 28
                                                       27      U.S.C. § 1367(a) because they are so related to the federal claims that they form part of
                                                       28      the same case or controversy and derive from a common nucleus of operative facts.
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                                                                                                          COMPLAINT
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                                                           1                12.   Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
                                                           2   because Defendants have a physical presence, including offices, warehouses, officers,
                                                           3   and employees, in this District and the events giving rise to this action occurred in this
                                                           4   district, namely the Defendants have, among other acts, marketed and sold in this
                                                           5   District products and/or provided services using Plaintiff's trademarks without
                                                           6   permission, constituting trademark infringement and unfair competition within this
                                                           7   District.
                                                           8                                     FACTUAL BACKGROUND
                                                           9                13.   Wahlburgers began as a single restaurant in Hingham, Massachusetts. In
                                                       10      2011, the Wahlberg brothers started the restaurant to showcase Paul Wahlberg's love
                                                       11      for cooking. The concept was simple: the Wahlberg family shared their most cherished
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                                                       12      memories at the dining table and wanted to share those moments with the world. The
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                                                       13      restaurant focused heavily on the Wahlberg family, featuring photographs of the
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                                                       14      brothers as part of its signage, trade dress, and advertising. Plaintiff has entered into a
                                                       15      personality rights agreement with the three Wahlberg brothers, which agreement allows
                                                       16      the use of (i) approved names and nicknames; (ii) approved photographic images; (iii)
                                                       17      approved likenesses; and (iv) approved biographical and professional information
                                                       18      solely as part of the interior appearance and interior décor of Wahlburgers restaurants,
                                                       19      and as said interior appearance and décor may incidentally appear in and as part of
                                                       20      Wahlburgers’-related advertising and marketing which depicts a physical Wahlburgers
                                                       21      location (collectively, the “Personality Rights”), subject in each instance to the prior
                                                       22      written approval of Mark, Donnie, and/or Paul and the prior written approval of the
                                                       23      applicable third party for any material not owned by Mark, Donnie and/or Paul.
                                                       24                   14.   Based on the restaurant's success, cable network A&E produced a reality
                                                       25      television series titled Wahlburgers showcasing the restaurant and the Wahlberg
                                                       26      brothers in 2014. The show was a hit – receiving an Emmy nomination and lasting 10
                                                       27      seasons.
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                                                           1                15.     In 2014, Plaintiff franchised the WAHLBURGERS brand and a second
                                                           2   restaurant location opened in Toronto, Ontario. To date, there are a total of over 100
                                                           3   WAHLBURGERS restaurants within the United States, Canada, Australia, and New
                                                           4   Zealand.
                                                           5                16.     With such success, Plaintiff sought to ensure that its rights were protected.
                                                           6   Specifically, franchisees are required to sign franchise agreements establishing certain
                                                           7   requirements for any authorized WAHLBURGERS restaurant, such as specific items to
                                                           8   be featured on the menu, restaurant protocols and locations, use of the brand name and
                                                           9   intellectual property, and branding/marketing obligations.
                                                       10                   17.     Wahlburgers is the registrant of numerous trademarks to protect the
                                                       11      WAHLBURGERS brand. Its U.S. trademark registrations include, but are not limited
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                                                       12      to:
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                                                       13                          WAHLBURGERS (Reg. Nos. 4328948, 4794363, 4589473, and
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                                                       14                           6201702) in Class 43 for restaurant services; Class 25 for Sweatshirts and
                                                       15                           t-shirts, Class 41 for entertainment services, and Class 9 for downloadable
                                                       16                           mobile applications for providing a customer loyalty program, and means
                                                       17                           to earn and use loyalty points, view special offers, order food, and locate
                                                       18                           stores;
                                                       19                          Wahlburgers' stylized "W" logo (Reg. Nos. 4637134, 4785703,
                                                       20                           4785399, and 4785704) in class 43 for restaurant services, Class 9 for cell
                                                       21                           phone cases, Class 21 for drinking glasses, and Class 25 for hats, jackets,
                                                       22                           jerseys, sweatshirts, and t-shirts;
                                                       23                          OUR FAMILY, OUR STORY, OUR BURGERS (Reg. No. 4297131)
                                                       24                           in Class 43 for restaurant services.
                                                       25      Each of these trademarks (the "WAHLBURGERS Marks") has tremendous value and
                                                       26      has become instantly recognizable and famous with the consuming public. Many of
                                                       27      them have been registered for over five years and have acquired incontestable status.
                                                       28      True and correct copies of the Trademark Registration Certificates for the
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                                                           1   WAHLBURGERS Marks and of the Assignment of certain of the WAHLBURGERS
                                                           2   Marks to Plaintiff are attached hereto as Exhibit 1.
                                                           3                18.   On or around May 27, 2024, Plaintiff discovered that Defendants were
                                                           4   impermissibly using the WAHLBURGERS Marks on a food truck/trailer at the Los
                                                           5   Angeles Country Fair without Plaintiff's knowledge or permission. Specifically,
                                                           6   Defendants constructed a food truck/trailer bearing giant, bright colored signage
                                                           7   containing all three of the WAHLBURGERS Marks, as well as multiple reproductions
                                                           8   of the names and photographs of Mark, Donnie and Paul Wahlberg, falsely portraying
                                                           9   to the consuming public that Defendants were selling food products associated with or
                                                       10      approved by Plaintiff. The signage and images were not, and would not have been,
                                                       11      permitted or approved by Plaintiff and the posted menu even contained misspellings.
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                                                       12      Plaintiff captured the below images of the infringing food truck/trailer at the Los
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                                                       13      Angeles County Fair:
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                                                       23                   19.   Among the WAHLBURGERS Marks used by Defendants on this
                                                       24      infringing food truck/trailer were WAHLBURGERS, the stylized W logo, and OUR
                                                       25      FAMILY, OUR STORY, OUR BURGERS.
                                                       26                   20.   Defendants' unauthorized and unlawful use of the WAHLBURGERS
                                                       27      Marks and the Wahlberg brothers' names, images and likenesses were undertaken to
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                                                                                                        COMPLAINT
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                                                           1   confuse the public into believing that the food products being purchased were associated
                                                           2   and/or approved by Plaintiff.
                                                           3                21.   Upon discovering such infringement, Plaintiff sent a cease and desist letter
                                                           4   to Defendants' purported business partner on June 3, 2024, demanding the immediate
                                                           5   cessation of unauthorized use of the WAHLBURGERS Marks and the names, images
                                                           6   and likenesses of the Wahlberg brothers on the food truck/trailer and provide all
                                                           7   accounting for sales related to such activity. (the "Letter").
                                                           8                22.   Despite this, Defendants continued to use the WAHLBURGERS Marks
                                                           9   and the Wahlberg brothers' names, images, and likenesses on food trucks, trailers,
                                                       10      and/or stands at fairs. On or about July 5, 2024, Plaintiff discovered that Defendants
                                                       11      again used the infringing signage and imagery to sell food at the San Diego County Fair.
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                                                       12      Plaintiff captured the below images of the infringing food truck/trailer at the San Diego
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                                                       13      County Fair:
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                                                       24                   23.   The signage on Defendants' food truck/trailer at the San Diego County Fair
                                                       25      contained the WAHLBURGERS, stylized W logo, and OUR FAMILY, OUR STORY,
                                                       26      OUR BURGERS trademarks, as well as multiple uses of the brothers' names, images,
                                                       27      and likenesses to promote and sell their food products.
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                                                                                                          COMPLAINT
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                                                           1                24.   Plaintiff has never given Defendants any permission or consent to use the
                                                           2   WAHLBURGERS Marks or the names, images, or likenesses of the Wahlberg brothers
                                                           3   on any signage, advertising, or otherwise in connection with the sale of any food or
                                                           4   other products at any time.
                                                           5                                    FIRST CLAIM FOR RELIEF
                                                           6                           (Infringement Of Plaintiff's Registered Trademarks
                                                           7                                        Under 15 U.S.C. § 1114)
                                                           8                                        (Against All Defendants)
                                                           9                25.   Plaintiff restates, adopts, and incorporates each and every allegation in the
                                                       10      preceding and foregoing paragraphs as though set forth fully herein.
                                                       11                   26.   Plaintiff is the owner of the United States Trademark Registration Nos.
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                                                       12      4328948, 4794363, 4589473, and 6201702 for the trademark WAHLBURGERS,
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                                                       13      Registration Nos. 4637134, 4785703, 4785399, and 4785704 for the stylized W logo
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                                                       14      design mark, and Registration No. 4297131 for the trademark OUR FAMILY, OUR
                                                       15      STORY, OUR BURGERS. Multiple of the WAHLBURGERS Marks have been
                                                       16      registered for over five years and have acquired incontestable status. The
                                                       17      WAHLBURGERS Marks are distinctive of restaurant services, among other goods and
                                                       18      services. Throughout the years of sales and advertising by Wahlburgers, the
                                                       19      WAHLBURGERS Marks have become distinctively associated in the minds of
                                                       20      consumers with the high-quality food services and goods produced and sold by
                                                       21      Wahlburgers.
                                                       22                   27.   Defendants have used the WAHLBURGERS Marks without authorization
                                                       23      from Plaintiff for commercial restaurant services and on food goods similar or related
                                                       24      to the food products and restaurant services offered by Plaintiff.
                                                       25                   28.   Defendants' unauthorized uses of the WAHLBURGERS Marks are likely
                                                       26      to cause confusion in the marketplace by creating the false and mistaken impression
                                                       27      that Defendants’ goods and services are affiliated, connected or associated with, or that
                                                       28      they originate with, or are sponsored or approved by Plaintiff. Defendants’ unauthorized
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                                                           1   uses of the WAHLBURGERS Marks are in violation of the Lanham Act, 15 U.S.C. §
                                                           2   1114.
                                                           3                29.   As a proximate result of Defendants’ actions, Plaintiff has suffered and
                                                           4   will continue to suffer great damage to its business, goodwill, reputation, profits and
                                                           5   strength of its trademarks. As a direct and proximate result of Defendants’ wrongful
                                                           6   conduct, Plaintiff has been and will continue to be damaged by, without limitation, a
                                                           7   diminution in the reputation, value and goodwill of Wahlburgers and the
                                                           8   WAHLBURGERS Marks, in an amount to be proven at trial.
                                                           9                30.   Defendants’ unauthorized uses of the WAHLBURGERS Marks have
                                                       10      caused and, if not enjoined, will continue to cause, irreparable and continuing harm to
                                                       11      Wahlburgers in various ways, including but not limited to the inability to control the
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                                                       12      impact on Plaintiff's reputation and the lack of any control over the quality and safety
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                                                       13      of Defendants’ goods and services, for which Plaintiff has no adequate legal remedy.
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                                                       14      Accordingly, Plaintiff is entitled to provisional, preliminary and permanent injunctive
                                                       15      relief to compel cessation of all of Defendants' infringing conduct.
                                                       16                   31.   As Defendants had full awareness and understanding of their infringing
                                                       17      conduct and continue such actions regardless, the foregoing acts of infringement have
                                                       18      been and continue to be deliberate, willful and wanton, making this case exceptional
                                                       19      within the meaning of 15 U.S.C. § 1117.
                                                       20                   32.   Plaintiff is entitled to all remedies available under the Lanham Act,
                                                       21      including, but not limited to, preliminary and permanent injunctions, compensatory
                                                       22      damages, statutory damages, treble damages, disgorgement of profits, costs and
                                                       23      attorneys’ fees, pursuant to 15 U.S.C. § 1117(a).
                                                       24                                      SECOND CLAIM FOR RELIEF
                                                       25                          (False Designation Of Origin Under 15 U.S.C. § 1125(a))
                                                       26                                           (Against All Defendants)
                                                       27                   33.   Plaintiff restates, adopts, and incorporates each and every allegation in the
                                                       28      preceding and foregoing paragraphs as though set forth fully herein.
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                                                                                                           COMPLAINT
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                                                           1                34.   Plaintiff is the owner of the United States Trademark Registration Nos.
                                                           2   4328948, 4794363, 4589473, and 6201702 for the trademark WAHLBURGERS,
                                                           3   Registration Nos. 4637134, 4785703, 4785399, and 4785704 for the stylized W logo
                                                           4   design mark, and Registration No. 4297131 for the trademark OUR FAMILY, OUR
                                                           5   STORY, OUR BURGERS. Multiple of the WAHLBURGERS Marks have been
                                                           6   registered for over five years and have acquired incontestable status. The
                                                           7   WAHLBURGERS Marks are distinctive of restaurant services, among other goods and
                                                           8   services. Throughout the years of sales and advertising by Wahlburgers, the
                                                           9   WAHLBURGERS Marks have become distinctively associated in the minds of
                                                       10      consumers with the high-quality food services and goods produced and sold by Plaintiff.
                                                       11                   35.   Defendants’ unauthorized uses of marks identical and/or confusingly
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                                                       12      similar to the WAHLBURGERS Marks is likely to, and did, cause confusion in the
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                                                       13      marketplace by creating the false and mistaken impression that Defendants’ services
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                                                       14      and/or goods originate from Plaintiff.
                                                       15                   36.   Defendants’ unauthorized uses of marks identical and/or confusingly
                                                       16      similar to the WAHLBURGERS Marks violates the Lanham Act, 15 U.S.C. § 1125(a).
                                                       17                   37.   Defendants’ unauthorized uses of marks identical and/or confusingly
                                                       18      similar to the WAHLBURGERS Marks have caused and, if not enjoined, will continue
                                                       19      to cause, irreparable and continuing harm to Plaintiff in various ways, including but not
                                                       20      limited to the inability to control the impact on Plaintiff's reputation and the lack of
                                                       21      control over the quality of Defendants’ goods and services, for which Plaintiff has no
                                                       22      adequate legal remedy. Accordingly, Plaintiff is entitled to provisional, preliminary
                                                       23      and permanent injunctive relief to compel cessation of all of Defendants' infringing
                                                       24      conduct.
                                                       25                   38.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff
                                                       26      has been and will continue to be damaged by, without limitation, a diminution in the
                                                       27      reputation, value and goodwill of Plaintiff and the WAHLBURGERS Marks, in an
                                                       28      amount to be proven at trial.
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                                                                                                          COMPLAINT
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                                                           1                39.   Defendants’ unauthorized uses of marks identical and/or confusingly
                                                           2   similar to the WAHLBURGERS Marks were and continue to be knowing, deliberate,
                                                           3   willful, fraudulent, and without extenuating circumstances, making this an exceptional
                                                           4   case. Plaintiff is therefore entitled to recover three times the amount of actual damages,
                                                           5   attorneys’ fees and costs incurred in this action, and Defendants’ profits from their
                                                           6   infringement of the WAHLBURGERS Marks pursuant to 15 U.S.C. § 1117(a).
                                                           7                                    THIRD CLAIM FOR RELIEF
                                                           8           (Unfair Competition In Violation Of Cal. Bus. & Prof. Code § 17200, et. seq.)
                                                           9                                        (Against All Defendants)
                                                       10                   40.   Plaintiff restates, adopts, and incorporates each and every allegation in the
                                                       11      preceding and foregoing paragraphs as though set forth fully herein.
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                                                       12                   41.   California Business & Professions Code Section 17200 prohibits any
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                                                       13      unlawful, unfair, or fraudulent business act or practice. Defendants' unauthorized use of
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                                                       14      the WAHLBURGERS Marks and the names, images, and likenesses of the Wahlberg
                                                       15      brothers for the purpose and/or with the effect of confusing the public into believing
                                                       16      that the services being provided and goods being sold originated from or were sponsored
                                                       17      or approved by Plaintiff, as set forth above, constitutes unlawful and unfair business
                                                       18      practices in violation of California Unfair Business Practices Act, Cal Bus. & Prof.
                                                       19      Code § 17200, et seq.
                                                       20                   42.   Plaintiff has been harmed as a direct and proximate result of Defendants'
                                                       21      conduct in an amount to be proven at trial. Defendants' conduct has caused and, if not
                                                       22      enjoined, will continue to cause irreparable and continuing harm to Plaintiff, for which
                                                       23      it has no adequate legal remedy. Accordingly, Plaintiff is entitled to provisional,
                                                       24      preliminary, and permanent injunctive relief. Plaintiff is also entitled to restitution of
                                                       25      any and all monies improperly appropriated from Plaintiff by Defendants in connection
                                                       26      with their wrongful conduct.
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                                                                                                           COMPLAINT
                                                               77368704;2
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                                                           1                                               PRAYER
                                                           2                WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
                                                           3   them, as follows:
                                                           4                A.   Preliminary and permanent injunctive relief enjoining Defendants, their
                                                           5                     agents, servants, employees, representatives, successors, and assigns, and
                                                           6                     all persons, firms, corporations, or other entities in active concert or
                                                           7                     participation with any of them, from:
                                                           8                     1. Using the WAHLBURGERS Marks, as well as any other colorable
                                                           9                        imitation of the WAHLBURGERS Marks for any commercial purpose
                                                       10                           relating to food and/or restaurant services, and any other goods or
                                                       11                           services for which Plaintiff has registered its WAHLBURGERS Marks;
              TEL.: (213) 688-9500 – FAX: (213) 627-6342




                                                       12                        2. Using Plaintiff's trade names, trademarks, or service marks, or any
                LOS ANGELES, CALIFORNIA 90071
                 633 WEST FIFTH STREET, SUITE 6400




                                                       13                           version thereof, in connection with the description, marketing,
AKERMAN LLP




                                                       14                           promotion, advertising, or sale of products or services not associated
                                                       15                           with or approved by Plaintiff;
                                                       16                        3. Assisting, aiding, or abetting any other person or business entity in
                                                       17                           engaging in or performing any of the activities referred to in
                                                       18                           subparagraphs (1) and (2) above.
                                                       19                   B.   An award of Plaintiff's actual damages, in an amount to be fixed by the
                                                       20                        Court in accordance with proof, as well as all of Defendants’ profits or
                                                       21                        gains of any kind resulting from each cause of action, or alternatively and
                                                       22                        at Plaintiff's election, for statutory damages, and further for an order
                                                       23                        awarding treble damages and attorneys' fees, pursuant to 15 U.S.C. §
                                                       24                        1117(b), because the acts of infringement were willful and wanton;
                                                       25                   C.   An award of pre and post judgment interest;
                                                       26                   D.   An award of all of Plaintiff's costs incurred in prosecuting this action;
                                                       27                   E.   An award of such other and further relief as the Court may deem just and
                                                       28                        proper.
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                                                                                                          COMPLAINT
                                                               77368704;2
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                                                           1    DATED: July 24, 2024                        AKERMAN LLP
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                                                                                                            By:______________________________
                                                           4
                                                                                                                CAROLINE H. MANKEY
                                                           5                                                    CHRISTOPHER N. MCANDREW
                                                                                                                Attorneys for Plaintiff
                                                           6
                                                                                                                Wahlburgers I, LLC
                                                           7
                                                           8                                    DEMAND FOR JURY TRIAL

                                                           9                Plaintiff hereby demands a trial by jury for all counts, claims, or issues in this

                                                       10      action that are triable as a matter of right to a jury.
                                                                DATED: July 24, 2024                        AKERMAN LLP
                                                       11
              TEL.: (213) 688-9500 – FAX: (213) 627-6342




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                LOS ANGELES, CALIFORNIA 90071
                 633 WEST FIFTH STREET, SUITE 6400




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                                                                                                            By:______________________________
AKERMAN LLP




                                                       14                                                       CAROLINE H. MANKEY
                                                       15                                                       CHRISTOPHER N. MCANDREW
                                                                                                                Attorneys for Plaintiff
                                                       16                                                       Wahlburgers I, LLC
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